Case 0:13-cr-60284-JIC Document 144 Entered on FLSD Docket 02/06/2014 Page 1 of 11



                          UN ITED STATES DIST RICT CO U RT
                          SOUTH ERN DISTRICT OF FLORIDA

                             CASE NO . 13-60284-CR-COHN (s)
                                           18U.S.C.j1591(a)(1)& (2)
                                           18U.S.C.j1594(c)
  UN ITED STA TES O F A M ER ICA                                     FILED BY
                                                                         ..
                                                                                               D.C.

  V.                                                                      FEB -' 2111
  BRANDON R OBINSON,                                                      s'revEN M LARIMORE
                                                                          CLERKui.as' rc'r
        a/k/a diAee ''                                                    so.oFFG .FT.tkui,
  JOSE JONES,
        a/k/a Gchico,''
  A ND RE H O L STO N ,
        a/k/a Gsm urf''a/k/a RDeon Render''
  EVERSON FLOW ERS,
        a/k/a ççB oom er,''
  KER RY BU LLO CK ,
        a/k/a/Glfellogg,''and
  W D AL STU BBS,
        Jt/lt/:ttçt2..
                     I.,''

        D efendants.


                                SUPERSEDING INDICTM ENT

        The G rand Jtu'y chargesthat:

                                         CO U NT I

        From in or around July, 2013, and continuing until on or about the date of this

  Indictm ent, the exact dates being unknown to the Grand Jury,in Broward County,in the

  Southern DistdctofFlorida,and elsewhere,thedefendants,

                                  BR AND O N RO BIN SO N ,
                                         a/k/a dçA ce ''
                                        JO SE JO M S,
                                        a/k/a ç<c hico,''
                                     AN DR E H O LSTO N ,
                             a/k/a ç<sm ud ,''a/k/a D eon R ender,
                                  EV ER SO N FL O W ER S,
Case 0:13-cr-60284-JIC Document 144 Entered on FLSD Docket 02/06/2014 Page 2 of 11



                                       a/k/a diBoom er,''
                                    K ER RY BU LLO C K ,
                                    a/k/a/çdK ellogg,''and
                                      V ID AL STU BBS,
                                         a/k/a ddC .J.,''

  did knowingly and willfully combine,conspire,confederate,and agree with each otherand w ith

  others known and urtknown to the Grand Jury, to knowingly, in and affecting interstate

  comm erce,recruit,entice, harbor, transport, provide,obtain, and m aintain by any means a

  person,and to benefit financially and by receiving anything of value from participation in a

  venture which did recruit,entice,harbor,transport,provide,obtain,and maintain by anym eansa

  person,knowing,and in reckless disregard ofthe fact,thatsuch person had notattained the age

  of 18 years and would be caused to engage in a comm ercialsex act,in violation ofTitle l8,

  United StatesCode,Sections1591(a)and(b)(2);a11inviolationofTitle 18,United StatesCode,
  Section 1594(c).
                                          CO U N T Z

       From on or aboutJuly 25,2013,untilon or aboutSeptem ber 21,2013,the exactdates

  being unknown to the Grand Jury,in Broward County,in the Southern DistrictofFlorida,the

  befendant,
                                   BM ND O N R O BINSO N,
                                       a/k/a $$A ce,''

  did knowingly,in and affecting interstate com merce,recruit,entice,harbor,transport,provide,

  obtain,and m aintain by any means a person,thatis,Z.G.,and did beneftfinancially and by

  receiving anything of value from participation in a venture which did recruit,entice,harbor,

  transport,provide,obtain,and maintain by any m eans a person,thatis,Z.G.,knowing,and in

  recklessdisregard ofthe fact,thatZ.G.had notattained theageof 18 yearsand would be caused
Case 0:13-cr-60284-JIC Document 144 Entered on FLSD Docket 02/06/2014 Page 3 of 11



  to engagein acommercialsexact;in violationofTitle 18,United StatesCode,Sections1591(a)
  and(b)(2)and2.
                                          C O UN T 3

         On oraboutAugust28,2013,in Broward County,in the Southern DistrictofFlorida,the

  defendant,

                                   BR AN D O N R O BIN SO N ,
                                         a/k/a dçA ce,''

  did knowingly,in and affecting interstate commerce,recruit,entice,harbor,transport,provide,

  obtain,and m aintain by any m eans a person,that is,M .Y.,and did beneûtfinancially and by

  receiving anything of value from participation in a venture which did recruit,entice,harbor,

  transport,provide,obtain,and m aintain by any means a person,thatis,M .Y.,knowing,and in

  recklessdisregard ofthe fact,thatM .Y.had n0tatlained theage of18 yearsand would becaused

  toengagein acommercialsexact;inviolationofTitle 18,United StatesCode,Sedions1591(a)
  and(b)(2)and2.
                                           COUNT 4
         From on oraboutJuly 30,2013,untilon oraboutSeptember23,2013,the exactdates

  being unknown to the Grand Jury,in Broward County,in the Southern Districtof Florida,the

  defendant,

                                        JO SE JO NES,
                                        a/k/a çic hico,''

  did knowingly,in and affecting interstate commerce,recnzit,entice,harbor,transport,provide,

  obtain,and m aintain by any m eans a person,that is,L.J.,and did benefk snancially and by

  receiving anything of value from participation in a venture w hich did recruit,entice, harbor,

  transport,provide,obtain,and m aintain by any m eans a person,thatis,L.J.,knowing,and in
Case 0:13-cr-60284-JIC Document 144 Entered on FLSD Docket 02/06/2014 Page 4 of 11



  recklessdisregard ofthe fact,thatL.J.had notattained the age of 18 yearsand would be caused

  toengagein acommercialsex act;inviolationofTitle 18,UnitedStatesCode,Sections1591(a)
  and(b)(2)and2.
                                           CO U N T 5

        From on oraboutAugust1,2013,untilon oraboutSeptember29,2013,the exactdates

  being unknown to the G rand Jury, in Brow ard County,in the Southern D istrictof Florida,the

  defendant,

                                     ANDRE HO LSTO N,
                             a/k/aRsmurt''a/k/addDeon Render,''
  did knowingly,in and affecting interstate commerce,recruit,entice,harbor,transport,provide,

  obtain,and m aintain by any m eans a person,thatis,T.C.,and did benefitfinancially and by

  receiving anything of value from participation in a venttlre which did recruit,entice,harbor,

  transport,provide,obtain,and m aintain by any m eansa person,thatis,T.C .,knowing,and in

  recklessdisregard ofthe fact,thatT.C.had notattained theageof 18 yearsand would be caused

  toengageinacommercialsex act;inviolationofTitle 18,United StatesCode,Sections1591(a)

  and(b)(2)and2.
                                           C O UN T 6

         From on or about October 1, 2013,until on or about October 9, 20l3, in Broward

  County,in the Southem DistrictofFlorida,the defendant,

                                    EV ER SO N FLO W ER S,
                                       a/k/a diBoom er,''

  did know ingly,in and affecting interstate com m erce,recruit,entice,harbor,transport,provide,

  obtain,and m aintain by any means a person,tha,is,T.C.,and did benefitsnancially and by
  receiving anything of value from pm icipation in a venture w hich did recruit, entice, harbor,
Case 0:13-cr-60284-JIC Document 144 Entered on FLSD Docket 02/06/2014 Page 5 of 11



  transport,provide,obtain,and maintain by any m eansa person,thatis,T.C.,knowing,and in

  recklessdisregard ofthe fact,thatT.C.had notattained the age of18 yearsand would be caused

  toengageinacommercialsex act;inviolation ofTitle 18,United StatesCode,Sections1591(a)
  and(b)(2)and 2.


                                           CO U N T ;

            On oraboutOctober3,2013,in Broward County,in the Southern DistrictofFlorida,the

  defendant,

                                     EVER SO N FLO W ER S,
                                        a/k/a çdBoom er,''

  did knowingly,in and affecting interstate comm erce,recruit,entice,harbor,transport,provide,

  obtain,and maintain by any means a person,that is,M .J.,and did benetk financially and by

  receiving anything of value from participation in a venture which did recruit,entice,harbor,

  transport,provide,obtain,and m aintain by any means a person,thatis,M .J.,knowing,and in

  recklessdisregard ofthe fact,thatM .J.had notattained theageof18 yearsand would be caused

  to engagein acommercialsexact;inviolationofTitle 18,UnitedStatesCode,Sections 1591(a)

  and(b)(2)and2.
                                                    a-* fk nTTT .,O

                                            Q
                                                X F'
                                                ?
                                                -
                                                         PY R SO N
    z''-e                        .



  W IFREDO .FERR ER
  UN ITED STATES A TTO RN EY

  FRAN VIAMONTES                     7
  A SSISTAN T U .S.A T O RN EY
 Case 0:13-cr-60284-JIC Document 144 Entered on FLSD Docket 02/06/2014 Page 6 of 11
                           UNITED STATES D ISTRICT COURT
                           SO UTH ERN D ISTRICT OF FLOR IDA

UNITED STATES OF AM ERICA                                 CASE NO .l3-60284-CR-COHN(s)
VS.
                                                          C ERTIFICATE OF TRIAL A TTORNEY*
 BR ANDON ROBINSON ,etal
                                 Defendants.
                                                       / Superseding Case Inform ation:

CourtDivision:(SelectOne)                                 New Defendantts)               Yes        X      No
                                                          NumberofNew Defendants               0
        M iam i           Key W est                       Totalnumberofcounts               -----7-
        FTL X             W PB             FTP
        ldohereby certifythat:
        1.     Ihavecarefullyconsideredtheallegationsofthe indictment,thenumberofdefendants,thenumberofprobable
               witnessesand thelegalcomplexitiesoftheIndictment/lnformation attachedhereto.
                lam awarethatthe information supplied onthisstatementwillbe relied upon by theJudgesofthisCourtin
                settingtheircalendarsandschedulingcriminaltrialsunderthemandateoftheSpeedyTrialAct,Title28U .S.C.
                Section3161.
                Intepreter:      (YesorNo)        No
                Listlanguageand/ordialect
                Thiscasewilltake           5     daysforthepartiestotry.
                Pleasecheckappropriatecategory andtypeofoffense listed below:
                (Checkonlyone)                                      (Chcckonl
                                                                            yone)
       l        0 to 5 days           Nr                            Petty
       11       6 to 10 days                                        M inor
       Ill      11 to 20 days                                       M isdem.
       IV       21 to 60 days                                       Felony          X
       V        61daysand over

        6.      HasthiscasebeenpreviouslyfiledinthisDistrictCourt?                      (YesorNo)
       Ifyes:
       Judge:                                                CaseN o.
                   (Attachcopyofdispositiveorder)
       Hasacomplaintbeenfiledinthismatter? No             (YesorNo)
       lfyes:
       M agistrateCaseNo.
       Related Miscellaneousnumbers:
        Defendantts)infederalcustodyasof          owers         : tu s              : o lnson. oston         ones    :
                                                 Bullock 12/19/13
       Defendantts)instatecustodyasof
       Rule20 from theDistrictof
       lsthisapotentialdeathpenaltycase?                (YesorNo)
                Doesthiscaseoriginatefrom amatterpending inthe Northern Region ofthe U.S.Attorney'sOfficepriorto
                October14,2003?        Yes       X No

       8.       Doesthiscase originate from a m atterpending in the CentralRegion ofthe U .S.Attorney'sOffice priorto
                Septemberl,2007?                 Yes        X     No


                                                         FM N CIS     M O NTES
                                                         ASSISTANT U NITED STATES ATTO RNEY
                                                         FloridaBarNo./court605514
PenaltySheetts)attached                                                                                 REV 4/8/08
Case 0:13-cr-60284-JIC Document 144 Entered on FLSD Docket 02/06/2014 Page 7 of 11




                              UNITED STATES DISTRICT CO URT
                              SOUTH ERN DISTRICT OF FLORIDA

                                     PEN ALTY SH EET

  Dèfendant'sNam e:BM NDON ROBIN SON

  Case N o: 13-60284-CR-COHN(s)
           -




  Count 1:
  Conspiracy to Com mitSex Traffcking ofM inors

  Title 18.United StatesCode.Section 15944c)
  *M ax.Penalty: Life,$250,000 fine,5 yearsup to lifesupervised release
  Counts2-3:
  Sex Traffickinc ofM inors

  Title 18.United StatesCode.Section 1591(a)
  *M ax.Penalty: Maximum oflife(mandatoryminimum 10years),$250,000tine,5yearsupto
  life supervised release




  WRefers only to possible term ofincarceration,does notinclude possible fines,restitution,
  specialassessm ents,parole term s,or forfeitures thatm ay be applicable
Case 0:13-cr-60284-JIC Document 144 Entered on FLSD Docket 02/06/2014 Page 8 of 11




                              U NITED STAT ES D ISTR ICT C O UR T
                              SOUTH ERN DISTRICT OF FLORIDA

                                       PEN ALTY SH EET

  Defendant'sNam e:JO SE JO NES

  CaseNo: 13-60284-CR-COHN(s)


  Count1:
  Conspiracy to Com mitSex Trafficking ofM inors

  Title 18.United StatesCode.Section 15944c)
  *M ax.Penalty: Life,$250,000 fine,5 yearsup to life supervised release
  Count4:
  Sex Trafficking ofM inors

  Title 18.United StatesCode.Section 1591(a)
  *M ax.Penalty: M aximum oflife(mandatoryminimum 10years),$250,000fine,5yearsupto
  lifesupervised release




  *Refers only to possible term ofincarceration,does notinclude possible fines,restitution,
  specialassessm ents,parole term s,or forfeitures thatm ay be applicable
Case 0:13-cr-60284-JIC Document 144 Entered on FLSD Docket 02/06/2014 Page 9 of 11




                             UNITED STATES DISTRICT COURT
                             SO U TH ER N DISTR ICT O F FLO R IDA

                                      PEN A LTY SH EET

  D efendant'sN am e:AN DR E H O LSTO N

  CaseNo: 13-60284-CR-COHN(sà


  Count 1:
  Conspiracy to Comm itSex Trafûcking ofM inors

  Title 18.United StatesCode.Section 15944c)
  *M ax.Penalty: Life,$250,000 fine,5yearsup to lifesupervised release
  Counts 5:
  Sex TraffickingofM inors

  Title 18.UnitedStatesCode.Section 1591(a)
  *M ax.Penalty: M aximum oflife(mandatoryminimum 10years),$250,000tine,5yearsupto
  lifesupervised release




  *R efersonly to possible term ofincarceration,does notinclude possible fines,restitution,
  specialassessm ents,parole term s,or forfeituresthatm ay be applicable
Case 0:13-cr-60284-JIC Document 144 Entered on FLSD Docket 02/06/2014 Page 10 of 11




                               UNITED STATES DISTRICT COURT
                               SO UTH ERN D ISTR ICT O F FLO RIDA

                                       PENA LTY SH EET

   Defendant'sNam e:EVER SON FLOW ERS

   CaseNo: 13-60284-CR-COHN(sà


   Count 1:
   Conspiracvto Comm itSex TraffickincofM inors

   Title 18.United StatesCodesSection 1594(c)
   *M ax.Penalty: Life,$250,000 fine,5 yearsup to life supervised release
   Count6-7:
   Sex Trafficking ofM inors

   Title 18.United StatesCode.Section 1591(a)
   *M ax.Penalty: M aximum oflife(mandatoryminimum 10years),$250,000fine,5yearsupto
   lifesupervised release




   *R efers only to possible term ofincarceration,does notinclude possible fines,restitution,
   specialassessm ents,parole term s,or forfeitures thatm ay be applicable
Case 0:13-cr-60284-JIC Document 144 Entered on FLSD Docket 02/06/2014 Page 11 of 11




                            U N ITE D STA TES D ISTR ICT C O UR T
                            SO UTH ER N D ISTR ICT O F FLO R ID A

                                      PEN ALTY SH EET

   Defendant's N am e:V ID A L ST UBB S

   CaseNo: 13-60284-CR-COHN(s)


   Count 1:
   Conspiracy to Com mitSex Trafficking ofM inors

   Title 18sUnitedStatesCode.Section 1594(c)
   *M ax.Penalty: Life,$250,000 fine,5 yearsup to lifesupervised release




   ARefersonly to possible term ofincarceration,does notinclude possible fines.restitution,
   specialassessm ents,parole term s,or forfeitures thatm ay be applicable
